        Case 3:22-cv-00178-SDD-SDJ            Document 268       03/20/24 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA

 DR. DOROTHY NAIRNE, REV. CLEE
 EARNEST LOWE, DR. ALICE
 WASHINGTON, STEVEN HARRIS, BLACK
 VOTERS MATTER CAPACITY BUILDING
 INSTITUTE, and THE LOUISIANA STATE
 CONFERENCE OF THE NAACP,

                               Plaintiffs,            Civil Action No. 3:22-cv-00178
                                                      SDD-SDJ
 v.

 NANCY LANDRY, in her official capacity as
 Secretary of State of Louisiana,

                               Defendant.


                    PLAINTIFFS’ NOTICE OF SERVICE OF
              REMEDIAL MAPS AND SUPPORTING EXPERT REPORTS

       Plaintiffs—Dr. Dorothy Nairne, Rev. Clee Earnest Lowe, Dr. Alice Washington, Steven

Harris, Black Voters Matter Capacity Building Institute, and Louisiana State Conference of the

NAACP—file this notice to inform the Court that, in the interest of ensuring that Plaintiffs’

proposed schedule for the remedial phase of this case remains viable, Plaintiffs have served their

remedial maps and supporting expert reports as of March 19, 2024.



Date: March 20, 2024                                Respectfully submitted,


                                                    /s/ Megan C. Keenan               .
Leah Aden (admitted pro hac vice)                   Megan C. Keenan (admitted pro hac vice)
Stuart Naifeh (admitted pro hac vice)               Sarah Brannon (admitted pro hac vice)*
Victoria Wenger (admitted pro hac vice)             American Civil Liberties Union Foundation
NAACP Legal Defense & Educational                   915 15th St. NW
Fund                                                Washington, DC 20005
40 Rector Street, 5th Floor                         sbrannon@aclu.org
New York, NY 10006                                  mkeenan@aclu.org
        Case 3:22-cv-00178-SDD-SDJ            Document 268      03/20/24 Page 2 of 2




laden@naacpldf.org                                   Sophia Lin Lakin (admitted pro hac vice)
snaifeh@naacpldf.org                                 Dayton Campbell-Harris (admitted pro hac
vwenger@naacpldf.org                                 vice)*
                                                     Garrett Muscatel (admitted pro hac vice)
I. Sara Rohani (admitted pro hac vice)               American Civil Liberties Union Foundation
NAACP Legal Defense & Educational                    125 Broad Street, 18th Floor
Fund                                                 New York, NY 10004
700 14th Street, Suite 600                           slakin@aclu.org
Washington, DC 20005                                 dcampbell-harris@aclu.org
srohani@naacpldf.org                                 gmuscatel@aclu.org

John Adcock (La. Bar No. 30372)                      T. Alora Thomas-Lundborg (admitted pro
Adcock Law LLC                                       hac vice)
Louisiana Bar No. 30372                              Daniel J. Hessel (admitted pro hac vice)
3110 Canal Street                                    Election Law Clinic
New Orleans, LA 701119                               Harvard Law School
jnadcock@gmail.com                                   6 Everett Street, Ste. 4105
                                                     Cambridge, MA 02138
Michael de Leeuw (admitted pro hac vice)             tthomaslundborg@law.harvard.edu
Amanda Giglio (admitted pro hac vice)                dhessel@law.harvard.edu
Robert Clark (admitted pro hac vice)
Cozen O’Connor                                       Nora Ahmed
3 WTC, 175 Greenwich St.,                            NY Bar No. 5092374 (admitted pro hac
55th Floor                                           vice)
New York, NY 10007                                   Pronouns: she, her, hers
MdeLeeuw@cozen.com                                   ACLU Foundation of Louisiana
AGiglio@cozen.com                                    1340 Poydras St, Ste. 2160
                                                     New Orleans, LA 70112
Josephine Bahn (admitted pro hac vice)               Tel: (504) 522-0628
Cozen O’Connor                                       nahmed@laaclu.org
1200 19th Street NW
Washington, D.C. 20036                               Ron Wilson (La. Bar No. 13575)
JBahn@cozen.com                                      701 Poydras Street, Suite 4100
                                                     New Orleans, LA 70139
 *Practice is limited to federal court.              cabral2@aol.com

                                     Attorneys for Plaintiffs




                                                 2
